
Moncure, P.,
delivered the opinion of the court.
The court is of opinion that the defendant having, for more than forty years next preceding the institution of this suit, been in the peaceable and uninterrupted possession of the land in controversy, which during all that time has been within his enclosures, claimed by him, and cultivated as his own property, his said possession has been and is adverse to the plaintiff and those under whom he claims the said land, and the statute of limitations is a bar to any claim which the plaintiff might otherwise have to said land; and the title of the defendant thereto, even though it may not have been originally good, has thus matured and become perfect by adverse possession and by lapse of time, and the operation of the statute of limitations.
The court is further of opinion, that the affidavit of one of the jurors, that he did not consent to the verdict which was found by the jury, afforded no good ground for setting aside the said verdict; and the court below was therefore right in refusing to set it aside oil that ground. See Bull’s case, 11 Gratt. 613, p. 626-634, and cases therein cited.
*The court is therefore of opinion that there is no error in the judgment of the court below.
Therefore it. is considered that the said judgment be affirmed, and that the defendant recover against the plaintiff in error, thirty dollars damages, and his costs by him about his defence in this court expended.
Which is ordered to be certified to the court of hustings for the city of Portsmouth.
Judgment aeeirmed.
